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      Attorney for Plaintiff
  5   BRIAN WALDVOGEL
  6
                                 IN THE UNITED STATES DISTRICT COURT
  7                                CENTRAL DISTRICT OF CALIFORNIA
                                           WESTERN DIVISION
  8
                                                          Case No.: 2:15-cv-01196-ODW-JEM
  9    BRIAN WALDVOGEL,
 10                 Plaintiff,
              vs.                                         NOTICE OF SETTLEMENT
 11
       MEDICREDIT, INC,
 12
                    Defendant.
 13

 14

 15                     NOW COMES the Plaintiff, BRIAN WALDVOGEL, by and through the
 16    undersigned counsel and hereby informs the court that a settlement of the present matter has been
 17    reached and is in the process of finalizing settlement, which Plaintiff anticipates will be finalized
 18    within the next 60 days.
 19           Plaintiff therefore requests that this honorable court vacate all dates currently set on
 20
       calendar for the present matter.
 21
                                             Respectfully Submitted,
 22

 23    Dated: June 10, 2015                  KROHN & MOSS LTD

 24                                          /s/ Ryan Lee
                                             Ryan Lee, Esq.
 25                                          Attorney for Plaintiff,
                                             BRIAN WALDVOGEL
 26
 27

 28                                                   1
       _______________________________________________________________________________________________
 29                                        NOTICE OF SETTLEMENT
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Case 2:15-cv-01196-ODW-JEM Document 15 Filed 06/10/15 Page 2 of 2 Page ID #:178



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  2                                    CERTIFICATE OF SERVICE
  3
              I hereby certify that on June 10, 2015, I electronically filed the foregoing Notice of
  4
       Settlement with the Clerk of the Court by using the CM/ECF System. I further certify that on June
  5
       10, 2015 I served all counsel of record with a copy of this document by way of the CM/ECF
  6
       system.
  7

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  9
                                           By:     /s/ Ryan Lee
 10                                                Ryan Lee, Esq.
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 29                                     NOTICE OF SETTLEMENT
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